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                                                            IN CLERKS OFFICE
                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACH~iffl-2                Pt1 3 0 I

UNITED STATES OF AMERICA,                               )   ,,.S. DISTRICT COURT
                                                        )
                                                               :,:;TR\CT OF MASS.
                   V.                                   )     CIVIL ACTION
                                                        )     NO. 16-CR-10343-ADB
MICHAEL J. GURRY, et al.,                               )
                                                        )
                                                        )


MOTION OF BOSTON GLOBE MEDIA PARTNERS, LLC FOR PUBLIC ACCESS
TO JURY LIST UPON ENTRY OF A VERDICT OR UPON DISCHARGE OF THE
                             JURY

         Boston Globe Media Partners, LLC (the "Globe") hereby moves for public
access to the jury list in this case (including juror names and addresses) upon the
first to occur of either entry of a verdict or discharge of the jury. As grounds for its
motion, the Globe states as follows:

         1.        The public has a common law and constitutional right of access to the
jury list. See generally Press-Enterprise Co. v. Superior Court, 464 U.S. 501 (1984)
(public has First Amendment right of access to transcript of jury voir dire); In re Globe
Newspaper Co., 920 F. 2d 88 (1st Circ. 1990) (recognizing presumptive right of access
to juror names and addresses under District of Massachusetts Plan for Random
Selection of Jurors); United States v. Chin, 913 F.3d 251 (1st Cir. 2019) (affirming
continued binding effect of holding in In re Globe).
         2.        Section l0(a) of the District of Massachusetts Plan for Random Selection
of Jurors ("Jury Plan") provides:

         No person shall make public or disclose to any person not employed by
         this Court the names drawn from the Master Jury Wheel until the jurors
         have been summoned and have appeared, or failed to appear, in
         response to the summons. Any judge of this Court may order that the




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          names ofjurors remain confidential thereafter if the interests ofjustice
          soreqmre.
Jury Plan,§ l0(a) (emphasis added).
          3.       Under the "interests of justice" standard, withholding juror identities is
permitted only upon a finding of "exceptional circumstances peculiar to the case[.]"
Chin, 913 F.3d at 259 (quoting Globe, 920 F.2d at 97·98) (internal quotations
omitted). See also id. (in the absence of"particularized findings reasonably justifying
non-disclosure, the juror names and addresses must be made public").
          4.       In addition, "any delay in post-verdict disclosure [must] be justified by
the requisite 'particularized findings."' Chin, 913 F.3d at 261 (quoting Globe, 920 F.2d
at 98).
          5.       Generalized privacy concerns do not satisfy the interests of justice
standard.

          While anonymity is acceptable in the exceptional case where there is a
          particular need for it, the prospect of criminal justice being routinely
          meted out by unknown persons does not comport with democratic values
          of accountability and openness. Jurors may be citizen soldiers, but they
          are soldiers nonetheless, and like soldiers of any sort, they may be asked
          to perform distasteful duties. Their participation in publicized trials
          may sometimes force them into the limelight against their wishes. We
          cannot accept the mere generalized privacy concerns of jurors, no matter
          how sincerely felt, as a sufficient reason for withholding their identities
          under the interests·of·justice standard.
Globe, 920 F.2d at 97·98.
          6.       The Globe respectfully submits that in accordance with the holdings of
Chin and Globe, the names and addresses of jurors in this case should be released
upon the earlier to occur of the entry of verdict or the discharge of the jury.
          WHEREFORE, the Globe requests that the Court grant its motion for public
access to the jury list, including juror names and addresses, upon the earlier to occur
of the entry of verdict or the discharge of the jury.




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                                        BOSTON GLOBE MEDIA PARTNERS, LLC.
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Dated: May 2, 2019



                                 CERTIFICATE OF SERVICE

                   I, Jonathan M. Albano, hereby certify that this document was filed by

hand and paper copies will be sent to those indicated as non-registered participants

on May 2, 2019.

                                                    ls/Jonathan M. Albano




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